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                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

   ___________________________________________

   IN RE COOK MEDICAL, INC., IVC FILTERS
   MARKETING, SALES PRACTICES AND                               Case No. 1:14-ml-2570-RLY-TAB
   PRODUCTS LIABILITY LITIGATION                                MDL No. 2570
   ___________________________________________

   This Document Relates to the Following Actions:

   1:17-cv-03264; 1:17-cv-03381; 1:17-cv-03431; 1:17-cv-03559;
   1:19-cv-03144; 1:19-cv-03388; and 1:19-cv-03685
   ___________________________________________

                                MOTION TO DISMISS
                 FOR FAILURE TO SERVE CASE CATEGORIZATION FORM

          Pursuant to Federal Rule of Civil Procedure 41(b), Revised Second Amended Order

   Regarding Case Categorization Forms (Dkt. 10617), and Case Management Order 18, Cook

   Incorporated, Cook Medical LLC, and William Cook Europe ApS (collectively, the “Cook

   Defendants”), respectfully request that the Court dismiss certain matters set forth herein. In

   support of this Motion, the Cook Defendants state as follows:

          1.      On May 7, 2019, the Court entered the Revised Second Amended Order Regarding

   Case Categorization Forms (Dkt. 10617) (“Categorization Form Order”). It ordered all plaintiffs

   that filed a complaint on or after May 3, 2019, to submit a complete Case Categorization Form and

   specific medical record in support within 30 days of filing their complaint:

          All Plaintiffs in newly-filed actions in this MDL (as of May 3, 2019), whether by
          direct filing of the Complaint in this MDL or by transfer into this MDL, must
          categorize their cases using the form provided in Filing No. 9638-1, supported by
          specific medical documentation, and submit the same to the Cook Defendants and
          Plaintiffs’ Leadership, within 30 days of the filing of the Complaint or of the
          transfer date to this MDL, whichever is applicable.

   Categorization Form Order, 2.
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          2.      “Failure to comply with [the Court’s] Order shall result in dismissal of his or her

   case without prejudice” Categorization Form Order, 3.

          3.      The Cook Defendants served 7 plaintiffs with notice of their failure to serve a

   Categorization Form in compliance with the Court’s Orders. Attached as Exhibit A is a list setting

   forth each individual case ripe for dismissal pursuant to Categorization Form Order based on the

   plaintiffs’ failure to comply with the order.1 On September 18, 2019 and October 9, 2019, the

   Cook Defendants sent an email to each plaintiff’s individual counsel and Plaintiffs’ Lead Counsel

   notifying them that a Categorization Form had not been received and a motion to dismiss may be

   filed if a Categorization was not served within three days of the date of the email. A true and

   correct copy of each of these notice emails is attached as Exhibit B.

          4.      As of the 9:00 A.M. on date of filing of this Motion, the Cook Defendants have not

   received a completed Categorization from the Plaintiffs in the cases listed in Exhibit A.

          5.      Accordingly, pursuant to Federal Rule of Civil Procedure 41(b), the Categorization

   Form Order, and Case Management Order 18, the Cook Defendants respectfully request that the

   cases listed in Exhibit A be dismissed.

          WHEREFORE, the Cook Defendants respectfully request that the Court dismiss the above-

   captioned matters, and for all other just and appropriate relief.




   1
     Exhibit A sets forth each plaintiff’s name, civil action number, the date the Categorization Form
   was due, and the date the notice of failure to serve a Categorization Form email was sent to the
   plaintiff’s counsel and Plaintiffs’ Lead Counsel.

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   Dated: October 29, 2019

                                          Respectfully Submitted,

                                          /s/ Andrea Roberts Pierson
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                                     CERTIFICATE OF SERVICE

            I hereby certify that on October 29, 2019, a copy of the foregoing Motion to Dismiss was

   filed electronically, and notice of the filing of this document will be sent to all parties by operation

   of the Court’s electronic filing system to CM/ECF participants registered to receive service in this

   matter. Parties may access this filing through the Court’s system.



                                                   /s/ Andrea Roberts Pierson




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